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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA

                 v.                                   Case No. 22-cr-00007-LKG-1

 MARILYN J. MOSBY,

                         Defendant



                                     JOINT STATUS REPORT


        Pursuant to the Court’s May 6, 2022 Order (Dkt. 56) the undersigned parties respectfully

submit this joint status report. In its order, the Court requested a proposal for a schedule for pre-trial

proceedings. On April 14, 2022, in advance of the motions hearing, the defense provided the

government its proposed schedule for pre-trial proceedings. On that same date, counsel for Defendant

and the government briefly conferred on the proposed schedule. Following the motions hearing, on

April 27, 2022, the defense provided the government its new proposed schedule for pre-trial

proceedings. On May 2, 2022, the government responded with its counter-proposal. On May 6, 2022

and May 12, 2022, the parties met and conferred on the proposed schedule for pre-trial proceedings,

among other issues, and have been unable to reach agreement. For these reasons, each party submits

its proposed schedule for pre-trial proceedings below.

I.      Marilyn J. Mosby

        Defendant Marilyn J. Mosby proposes the following schedule:

        June 1, 2022: Deadline to file pre-trial motions

        June 15, 2022: Deadline to file responses to pre-trial motions

        June 29, 2022: Deadline to file replies to pre-trial motions

        Week of July 11, 2022: Hearing on pre-trial motions
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       August 1, 2022: Deadline to serve expert disclosures

       August 8, 2022: Deadline to file motions in limine (including motions to exclude experts),
       proposed voir dire and jury instructions

       August 15, 2022: Deadline to file responses to motions in limine

       August 22, 2022: Deadline to file replies in support of motions in limine

       Week of August 22nd: Possible dates for pretrial hearing on motions in limine

       September 15-16: Jury Selection

       September 19, 2022: Jury Trial

II.    United States of America

       The Government proposes the following schedule:

       June 1, 2022: Deadline for expert disclosures

       June 15, 2022: Deadline for motions in limine, to include any motions regarding experts

       June 29, 2022: Deadline for responses to motions in limine and motions regarding experts

       July 6, 2022: Deadline for replies to motions in limine and motions regarding experts

       The parties respectfully request that this Court set a telephonic status hearing to discuss

this issue and set a final schedule for pre-trial proceedings.


Dated: May 16, 2022                    Respectfully submitted,


                                       EREK L. BARRON
                                       UNITED STATES ATTORNEY

                                       /s/ Sean R. Delaney
                                       Leo J. Wise
                                       Sean R. Delaney
                                       Aaron S.J. Zelinsky
                                       Assistant United States Attorneys




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                     /s/ A. Scott Bolden

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                                CERTIFICATE OF SERVICE

        I certify that, on May 16, 2022, this document was electronically filed under seal with the

Clerk of Court using the Court’s CM/ECF system. Other counsel of record will not receive notice

of this filing.

                                                     /s/ Sean R. Delaney
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